Case 3:]

 

IN THE CHANCERY COUR‘I'}‘FOR SEVIER COUNTY;TENNESSEE

 

 

 

 

 

.; t _ )
CLIFToN BRYANT and ')’¢=\.’,-» f.l)_
' )
;rUDY BRYANT, )
)
Plaintiffs, )
VS- ) NO.: /2~5)~\-3'70
)
' , ) C ANCE CO
THE sTANDARD FIRE INSU_RANCE c;?:o. ) H ago UR;A
.' ‘ ' ) HOURE_W ___¢_@___.M
Defenciant. ) AUG 2 3 2012
. . § ` , /`7 mo
j CoMPLAINT :§ii§i&§“ihi€z¥~

 

Comes Now, the Plaintiff`s, Ciifto.n and Judy Brynnt~, and forthle complaints against The
Standard Fire Insurance Company, Defendant, would state as foilows:

l. Piaintiffs are citizens and residents of Seviervilie, Sevier County, Tennessee.

2. Defendant is a Connecticut Corporation doing business in Sevier County, Tennessee
who may be served through the Commissioner of Insurance at 500 J ames Robertson Parkway,
Nashvilie, TN 37243. l

3. Aii facts and circumstances described and compiained of in this Complaint occurred
in Sevier County, 'i`ennessee.

4. ”i`hat on OCtober 22, 201 l, Plaintiffs sustained Substantial fire damage to their
residence idcated at 1206 St. John’s Court, Sevierviile, TN 37862.

5. That at the time of ioss, Plaintii“fs were insured through Travelers insurance against

fire damage to their residence, through a I-Iomeowner‘s Insurance policy Whieh is underwritten

by Defendant The Standard Fire Insurance Company.

'*" arsv*r‘r'.;n¢a-?; m“, _,, ,.

n:FENnANT’_e conti

2-cv-00505-TWP-CCS Document 1-1 Filed 09/26/12 Page

 

  

 

 

 

 

 

Case 3:

 

ll

6. That said Homeowner’s Insurance policy created a binding contract between
Defendant and Plaintiffs that lrequired Defendant to provide coverage to Plaintiffs as set forth in
the policy should Plaintiffs suffer fire damage to their home.

7. That the fire damage to Piaintiffs home was such that Plaintiffs were insured against
such damage by the terms of the I-Iomeowner’s‘Policy that was in effect at that time.

8. 'Ii`hat Defendant has refused to make necessary repairs to the home or to reimburse
Plaintiffs fdr such losses as set forth in the I-lomeowner‘s Poiicy.

9. That Defendant’s adjusters and appraisers have willfuin and intentionally given
estimates tiiat ignore repairs that are necessary to the horne or substantially undervalue the
materials and/or tabor necessary to make repairs to the home in accordance with the
I-Iomeowner’s Policy.

10. That Defendant has operated in bad faith by invoking the appraisat clause of the
Homeowner’s Poiicy in an effort to force Piaintiffsv to submit themselves to an arbitration process
in which Defendant’S agents are acting in the manner set forth in Paragraph 9.

ll. That Defendant has breached the contract it made with Plaintiffs by failing to fulfill
its obligations as set forth in the contract.

12. .'That Defendant’s breach of contract is the proximate cause ofPlaintiffs’ monetary
iosses, incidental costs and damages, and consequential damages incurred in connection with the
events desc:ribed herein.

WHEREFORE, PLAINTIFF’S DBMANDS FOR JUDGMENT ARE:

1. That proper process issue and be served upon the Defendants and that the Defendants be
required to appear and answer the Complaint within the time required by law.

2. That the Plaintift" be awarded judgment against the Defendants for actual, compensatory

damages in the amount of Two I-Iundred Seventy~Five Thousand Dollars ($275,000.00).

2-cV-00505-TWP-CCS Document 1-1 Filed 09/26/12 Page 2 of 4 Page|D #: 5

 

 

 

 

 

Case 3:

 

3.

That the Plaintiff be awarded an additional twelve and one-half percent (12.5%) of its

damages in this 'cause pursuant to the bad-faith penalty provided for by Tenn. Code Ann. §56~?-

105.

4.

5.

That the costs of this action be awarded to the Piaintiff.
That a jury of twelve persons be impaneled to try this cause.

Such further and other general relief to which Plaintiff may be entitled

l il
nesp‘ectfuaysubmta@dstigma flle day of Oi/UQ§U°§AF 2012.

l
l
l

BAKER ASSOCIATES.

BY: /hzi/l/i/S ‘i)) /i/i(,[a&&/\.
Travis D. McCarter, BPR #029293
Counsel for Plaintiff
Bai<er Associates
121 Court Avenne
Sevierville, T`N 37862
Phone: (865) 428-2888
Facsitnile: (865) 428-2818

stare oF mattresses )
CoUnTY oF sai/ian )

Cliftoit Bryant, Plaintiff, makes oath that the statements contained in the foregoing

Complaint are true and correct to the best of his knowledge, information and belief.

WITNiESS my hand this QZthiiay of Ui'ii%ifji_ , 2012.

//

Clifton {B/ryant

Sworn to and subscribed before me

on this the ZZi/l(}i day of QiU;t’ig;Zil , 2012.

L2-,cV-00505-TWP-CCS Document 1-1 Filed 09/26/12 Page 3 of 4 Page|D #: 6

 

 

    

stare oF TENNESSEE ) ’lj<% \\t
coUNTY or sat/ran ) ’///,,f§: ,<1319“\3“\\\"

Judy Bryant, Plaintiff, makes oath that the statements contained in the foregoing
Complaint are true and correct to the best of her knowledge, information and belief
l .

l
l

WI'ITI\IBSS my hand this BZn(/iiay of QU(Ii/S\i- , 20 l2.
\ `\\\iili`rtn,»h,{

§§ eca_\d= §§§ii ami
Judy Br nt
\t;;;s}j\?..R-___t,@

Sworn to and subscribed before me _,.__ i` . OF -u, »_;_
: U): TENNE;SSEF.: 1»

on this the ?/an ____mday of %_i~ ,2§12_". NO`\AR‘¢' ,-‘ §§
w ii _“““_ z,/O . »Puattcé»¢ S
W Mm ,Notar§®§bii@§ CO\) \\\\

"*'fui?rut\\\\‘
l \,!
My COmmiSSiOR CXPiI`SS' z \C\\\ _

C()S'I‘ BOND
We acknowledge ourselves as surety for all costs, tai-ies, and damages in the case in

accordance with Tenn. Code Ann. § 20-12-120.

 

 

CERRHCABTE§; ER SSOCIATES
A
t, Carolvn P1 tdct:lahan G er Bi<trlaster fcrthe
ChanceryCoi ltorSevlerCcuntv, Tennesssa, dc
hereby carlit/ thz foregolgg lawn copy of a/L£?/\
ahstltedin ly:)lrcetnSevbrvtlle,tennassee, . "~ By M/S D/}/M
flath fErOl CLM» ._é,__C’/*{J ' , Travis D. McCarter, Esq.

 

 

‘tms,the.&§ dam ._£.2.£:'§) hbj '

- 4.
channel Md 1
By Depcly CE:T & theater .

Case 3: 2-cV-00505-TWP-CCS Document 1-1 Filed 09/26/12 Page 4 of 4 Page|D #: 7

 

 

 

 

